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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Ronald Hinton                               )
                                           )
                  Plaintiff                )      Case No. 15 C 10240
      v.                                   )
                                           )      Judge Robert W. Gettleman
Marcus Hardy                               )
                  Defendant                )


                                   ORDER

Status hearing held.

The second amended complaint is amended on its face to reflect that

defendant Joel Dunmars is being sued in his individual capacity. Motions

[39][56] to dismiss are denied. Motion [50] to set a briefing schedule is

terminated.

Status hearing is continued to 2/28/2017, at 9:00 a.m.

(00:08)


ENTER: February 15, 2017



                                     __________________________________________
                                     Robert W. Gettleman
                                     United States District Judge
